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                                          STATES BANKRUPTCY
                                  FOR THE MIDDLE DISTRICT OF GEORGIA


DEBTOR:       Benjamin Charles Barrett              *       Chapter 13
                                                    *       Case No. 16-30936

                                              CHAPTER 13 PLAN

  1.      The future earnings of the debtor(s) are submitted to the supervision and control of the trustee and the
          debtor(s) (or the debtor’s (s’) employer) shall pay to the trustee the sum of $_518.00__ weekly/bi-
          weekly/semi-monthly/monthly. (If the payments change over time include the following.) These plan
          payments change to $__________ weekly/bi-weekly/semi-monthly/monthly on __________, 20 ____.

  2.      From the payments so received, the trustee shall make disbursements as follows:

  (a) The trustee percentage fee as set by the United States Trustee.

  (b) The monthly payments will be made on the following long-term debts: (Payments which become due after
  the filing of the petition but before the month of the first payment designated here will be added to the pre-
  petition arrearage claim.)

        NAME OF CREDITOR                MONTH OF FIRST PAYMENT                   MONTHLY PAYMENT
                                             UNDER PLAN                              AMOUNT
  Newton Federal                       November 1, 2016                     $529.00



  (c) Preconfirmation adequate protection payments will be made to the following secured creditors and holders
  of executory contracts after the filing of a proof of claim by the creditor. These payments will be applied to
  reduce the principal of the claim.

    NAME OF CREDITOR                                       ADEQUATE PROTECTION AMOUNT
   st
  1 Franklin Financial                                     $100.00
  Farmers Furniture                                        $ 25.00
  Santander                                                $140.00



  (d) The following claims are not subject to cram down because debts are secured by a purchase money
  security interest in a vehicle for which the debt was incurred within 910 days of filing the bankruptcy petition,
  or, if the collateral for the debt is any other thing of value, the debt was incurred within 1 year of filing.
  See § 1325(a)

   NAME OF CREDITOR            AMOUNT               INTEREST             COLLATERAL              MONTHLY
                                 DUE                   RATE                                      PAYMENT
  Santander                   $19,536.00         5.2%                   2014 Jeep               $530.00
                                                                        Compass
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(e) After confirmation of the plan, the secured creditors with allowed claims will be paid as follows:

    NAME OF               AMOUNT            VALUE        INTEREST         COLLATERAL         MONTHLY PAYMENT
    CREDITOR               DUE                             RATE                                 AMOUNT
1st Franklin                                                             1989 Chevrolet
                       $4860.00          $7000.00        5.2%                                $225.00
Financial                                                                RV
Farmers
                       $1000.00          $1000.00        5.2%            PMSI Furniture      $ 87.00
Furniture




(f) *Attorney fees ordered pursuant to 11 U.S.C. § 507(a)(2) of $ __3,000.00_ to be paid as follows:

                                                                            MONTHLY PAYMENT
                                                                            AMOUNT

Pursuant to the Current Administrative Order on Attorney Fee             Pay according to the administrative order.
Awards.

(g) After the above are paid, distributions will be made to cure arrearages and other secured debts whose
claims are duly proven and allowed as follows

       NAME OF             ESTIMATED                   VALUE                  INTEREST              COLLATERAL
      CREDITOR            AMOUNT DUE                                            RATE
Newton Federal         $1058.00                    (arrears)             Contract                Residence



(h) The following collateral is surrendered to the creditor:

NAME OF CREDITOR                                                       DESCRIPTION OF COLLATERAL
N/A

(i) The following domestic support obligations will be paid over the life of the plan as follows: (These
payments will be made simultaneously with payment of the secured debt to the extent funds are available and
will include interest at the rate of _____%. (If this is left blank, no interest will be paid).

NAME OF CREDITOR                                                                            PAYMENT AMOUNT
N/A

(j) The following unsecured claims are classified to be paid at 100%. These payments will/will not be made
simultaneously with payment of the secured debt:


(k) All other 11 U.S.C. § 507 priority claims, unless already listed under 2(g), will be paid in full over the life of
the plan as funds become available in the order specified by law.


(l) The debtor(s) will be the disbursing agent on the following debts: NONE


(m) Special provisions: Objections to claims and lien avoidances may be filed before or after
confirmation.
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    The Debtor’s plan provides that the nonpurchasePage  3 of 4
                                                     nonpossessory
liens on the Debtor’s household goods by the following creditors shall be avoided upon confirmation
of the plan and extinguished upon the discharge being issued in the case: Covington Credit, Credit
Central #1, Credit Central #2, Service Loan and World Finance.



(n) Debtor(s) will make payments that will meet all of the following parameters (these are not cumulative,
debtors will pay the highest of the three).

   (i)        Debtor will pay all of his disposable income as shown on Form B22C of $_6570.00_ to the non
              priority unsecured creditors in order to be eligible for a discharge.

   (ii)       If the Debtor filed a Chapter 7 case, the priority and other unsecured creditors would receive
              $_____0____. Debtor will pay this amount to the priority and other unsecured creditors in order to
              be eligible for discharge in this case.


   (iii)      The Debtor will pay $_0___ to the general unsecured creditors to be distributed prorata.


(o) General unsecured creditors whose claims are duly proven and allowed will be paid (choose one only)

         __________% dividend as long as this dividend exceeds the highest amount, if any, shown in
         paragraph (n) (i), (n) (ii) or (n) (iii), and the Debtor pays in a least 36 monthly payments to be eligible for
         discharge.

         The debtor(s) will make payments for _57_ months and anticipates a dividend of _100_%, but will also
         exceed the highest amount shown in paragraph (n)(i), (n)(ii) or (n)(iii) above.

(p) Unless otherwise ordered by the court, all property of the estate, whether in the possession of the trustee
or the Debtor(s), remains property of the estate subject to the court’s jurisdiction, notwithstanding § 1327 (b),
except as otherwise provided in paragraph (m) above. Property of the estate not paid to the trustee shall
remain in the possession of the Debtor(s). All property in the possession and control of the Debtor(s) shall be
insured by the Debtor(s). The chapter 13 Trustee will not and is not required to insure such property and has
no liability for injury to any person, damage or loss to any such property in possession and control of the
Debtor(s) or other property affected by property in possession and control of the Debtor(s).

(q) Notwithstanding the proposed treatment or classification of any claim in the plan confirmed in this case, all
lien avoidance actions or litigation involving the validity of liens, or preference action will be reserved and can
be pursued after confirmation of the plan. Successful lien avoidance or preference actions will be grounds for
modification of plan.


  Date __9-20-16_______                       /s/ Benjamin Charles Barrett__________________
                                              Debtor


                                              __________________________________________
                                              Debtor
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